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Western Division

  

UNlTED STATES OF AMERICA

   
    

-vs- ‘ <`i`asé No. 2:0ser20218-001Mal

SEAN SIMPSON

 

ORDER OF DETENTION PEND|NG TR|AL
F|ND|NGS
ln accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(£), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
connnunity.

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

DlRECT|ONS REGARD|NG DETENTION

SEAN SIMPSON is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. SEAN SIMPSON shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: Augustu,zoos g . //70»),4~.: @uj

S. THOMAS ANDERSON
UNlTED STA'I`ES MAGISTRATE JUDGE

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UNlTED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-202] 8 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

